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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION

LARRY D. REID, ET AL.                                    )
                                                         )   CASE NO.1:21:CV-00991
            Plaintiffs,                                  )
                                                         )   JUDGE JAMES GWEN
  v.                                                     )
                                                         )
DARRYL MOORE                                             )   NOTICE CHANGE ADDRESS
                                                         )   DEFENSE COUNSEL
            Defendant.                                   )
                                                         )

        Defendant DARRYL MOORE through counsel and pursuant to Local Rule, hereby gives

notice of a change of address and email address for Attorney Fred D. Middleton.

        Please forward all correspondence to the following address:




    /s/ Fred D. Middleton____________
    FRED D. MIDDLETON (0025555)
    3139 Morley Road
    Cleveland, OH 44122
    Telephone: (216) 566-8000
    flegal@gmail.com

    Attorney for Defendant




                                        CERTIFICATE OF SERVICE

         I hereby certify that on this 5th day of October, 2021, a copy of the foregoing was filed
electronically. Notice of this filing will be sent to all parties by operation of the Court’s electronic
filing system. The parties may access this filing through the Court’s system.


                                                        /s/ Fred D. Middleton_______
                                                        Fred D. Middleton (0025555)
